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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-1067                                                September Term, 2024
                                                                        FAA-01/10/23 ROD
                                                     Filed On: January 31, 2025
Marin Audubon Society, et al.,

              Petitioners

      v.

Federal Aviation Administration, U.S.
Department of Transportation and National
Park Service, U.S. Department of the Interior,

              Respondents


      BEFORE:       Srinivasan, Chief Judge; Henderson, Circuit Judge; and Randolph,
                    Senior Circuit Judge


                                        ORDER

       Upon consideration of petitioners’ petition for panel rehearing filed on November
27, 2024, it is

      ORDERED that the petition be denied.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
